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                                               Amended Exhibit List in Support of Motion Regarding Defendants’ Material Support


Exhibit #                                                              Exhibit Name                                                                       Grounds for Admission
  PX1                                               Declaration/Report of Patrick L. Clawson, Ph.D                                                 FRE 401; 402; 611; 702; 703; 704; 901
  PX2                                                 Declaration/Report of Matthew Levitt, Ph.D                                                   FRE 401; 402; 611; 702; 703; 704; 901
  PX3                                      Redacted/Sealed Declaration/Report of Peter Medvedev Piatetsky                                          FRE 401; 402; 611; 702; 703; 704; 901
  PX4                              Declaration/Report of Daveed Gartenstein-Ross, Ph.D, JD – Shia Militant Groups                                  FRE 401; 402; 611; 702; 703; 704; 901
  PX5                             Declaration/Report of Daveed Gartenstein-Ross, Ph.D, JD – Sunni Militant Groups                                  FRE 401; 402; 611; 702; 703; 704; 901
  PX6                                               Declaration/Report of Michael A. Rubin, Ph.D                                                   FRE 401; 402; 611; 702; 703; 704; 901
  PX7                                          Declaration of Ripley Quinby IV, United States Treasury                                                FRE 401; 402; 601-603; 611; 901
 PX20       Federal Register, Vol. 60, No. 16, List of Specially Designated Terrorists Who Threaten To Disrupt the Middle East Peace         FRE 401; 402; 702; 703; 704; 803(8); 807; 902; 902(5)
                                                               (January 25, 1995), Notices
 PX21                    U.S. Department of State, Designation of the Islamic Revolutionary Guard Corps, (April 8, 2019)                   FRE 401; 402; 702; 703; 704; 803(8); 807; 901; 902; 902(5)
 PX22               U.S. Department of State, Bureau of Counterterrorism , Foreign Terrorist Organizations, (March 5, 2021)                FRE 401; 402; 702; 703; 704; 803(8); 807; 901; 902; 902(5)
 PX25                                           U.S. Department of State, State Sponsors of Terrorism                                            FRE 401; 402; 803(8); 807; 901; 902; 902(5)
 PX27       U.S. Department of State, The United States designated Kata’ib Hezbollah a Foreign Terrorist Organization and a Specially      FRE 401; 402; 702; 703; 704; 803(8); 807; 901; 902; 902(5)
                                                     Designated Global Terrorist on June 24, 2009
 PX28        U.S. Department of State, The United States to Impose Sanctions on Chinese Firm Zhuhai Zhenrong Company Limited for           FRE 401; 402; 702; 703; 704; 803(8); 807; 901; 902; 902(5)
                                                        Purchasing Oil from Iran, (July 22, 2019)
 PX29                              U.S. Department of Treasury Press Release , Fact Sheet: New Sanctions on Iran                           FRE 401; 402; 702; 703; 704; 803(8); 807; 901; 902; 902(5)
 PX30        U.S. Department of Treasury Press Release , Fact Sheet: U.S. Treasury Department Targets Iran’s Support for Terrorism.        FRE 401; 402; 702; 703; 704; 803(8); 807; 901; 902; 902(5)
            Treasury Announces New Sanctions Against Iran’s Islamic Revolutionary Guard Corps-Qods Force Leadership,” (August 3,
                                                                           2010)
 PX33          U.S. Department of Treasury Press Release , Treasury and State Department Iran Designations Identifier Information          FRE 401; 402; 702; 703; 704; 803(8); 807; 901; 902; 902(5)
                                   Pursuant to E.O. 13224 (Terrorism) and E.O. 13382 (WMD), (October 25, 2007)
 PX34        U.S. Department of Treasury Press Release , Treasury Designates the IRGC under Terrorism Authority and Targets IRGC           FRE 401; 402; 702; 703; 704; 803(8); 807; 901; 902; 902(5)
                                  and Military Supporters under Counter-Proliferation Authority, (October 13, 2017)
 PX35                U.S. Department of Treasury Press Release , Fact Sheet: Abu Musa’ab al-Zarqawi, (September 23, 2003)                  FRE 401; 402; 702; 703; 704; 803(8); 807; 901; 902; 902(5)
 PX36        U.S. Department of Treasury Press Release , Fact Sheet: Designation of Iranian Entities and Individuals for Proliferation     FRE 401; 402; 702; 703; 704; 803(8); 807; 901; 902; 902(5)
                                               Activities and Support for Terrorism, (October 25, 2007)
 PX39       U.S. Department of Treasury Press Release , Treasury Department Statement Regarding the Designation of Ansar Al-Islam,         FRE 401; 402; 702; 703; 704; 803(8); 807; 901; 902; 902(5)
                                                                    (February 20, 2003)
 PX40       U.S. Department of Treasury Press Release , Treasury Designates Hizballah Commander Responsible for American Deaths            FRE 401; 402; 702; 703; 704; 803(8); 807; 901; 902; 902(5)
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 PX42           U.S. Department of Treasury Press Release , Treasury Designates Individuals and Entities Fueling Violence in Iraq,         FRE 401; 402; 702; 703; 704; 803(8); 807; 901; 902; 902(5)
                                                                   (September 16, 2008)
 PX47         U.S. Department of Treasury Press Release , Treasury Sanctions Five Individuals Tied to Iranian Plot to Assassinate the      FRE 401; 402; 702; 703; 704; 803(8); 807; 901; 902; 902(5)
                                          Saudi Arabian Ambassador to the United States, (October 11, 2011)
 PX48         U.S. Department of Treasury Press Release , Treasury Sanctions Iran’s Central Bank and National Development Fund,            FRE 401; 402; 702; 703; 704; 803(8); 807; 901; 902; 902(5)
                                                                   (September 20, 2019)
 PX50         U.S. Department of Treasury Press Release , Treasury Sanctions Key Actors in Iran’s Oil Sector for Supporting Islamic        FRE 401; 402; 702; 703; 704; 803(8); 807; 901; 902; 902(5)
                                             Revolutionary Guard Corps-Qods Force, (October 26, 2020)
 PX51       U.S. Department of Treasury Press Release , U.S. Government Fully Re-Imposes Sanctions on the Iranian Regime As Part           FRE 401; 402; 702; 703; 704; 803(8); 807; 901; 902; 902(5)
                                      of Unprecedented U.S. Economic Pressure Campaign, (November 5, 2018)
 PX57         U.S. Department of Treasury Press Release , OFAC Identifies Entities Owned or Controlled by the Government of Iran,          FRE 401; 402; 702; 703; 704; 803(8); 807; 901; 902; 902(5)
                                                                   (November 26, 2008)
 PX58         U.S. Department of Treasury, Graphic, Currency Exchange Network Transferring Millions of Dollars to the IRGC-QF              FRE 401; 402; 702; 703; 704; 803(8); 807; 901; 902; 902(5)
 PX59          U.S. Department of Treasury, OFAC Advisory to the Maritime Petroleum Shipping Community, (September 4, 2019)                FRE 401; 402; 702; 703; 704; 803(8); 807; 901; 902; 902(5)
 PX61                  U.S. Department of Treasury, Office of Foreign Assets Control - Sanctions Programs and Information                  FRE 401; 402; 702; 703; 704; 803(8); 807; 901; 902; 902(5)
 PX63       U.S. Department of Treasury Press Release , Treasury Designates Vast Iranian Petroleum Shipping Network That Supports          FRE 401; 402; 702; 703; 704; 803(8); 807; 901; 902; 902(5)
                                                  IRGC-QF and Terror Proxies, (September 4, 2019)
 PX66       U.S. Department of Treasury Press Release , Treasury Designates Individual, Entity Posing Threat to Stability in Iraq, (July   FRE 401; 402; 702; 703; 704; 803(8); 807; 901; 902; 902(5)
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 PX67       U.S. Department of Treasury Press Release , Treasury Designates Individuals, Entity Fueling Iraqi Insurgency, (January 9,      FRE 401; 402; 702; 703; 704; 803(8); 807; 901; 902; 902(5)
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 PX68       U.S. Department of Treasury Press Release , Treasury Designates Iranian Ministry of Intelligence and Security for Human         FRE 401; 402; 702; 703; 704; 803(18); 807; 902; 902(5)
                                            Rights Abuses and Support for Terrorism, (February 16, 2012)
 PX70          U.S. Department of Treasury Press Release , Treasury Designations Target Terrorist Facilitators, (December 7, 2006)         FRE 401; 402; 702; 703; 704; 803(8); 807; 901; 902; 902(5)
 PX72           U.S. Department of Treasury Press Release , Sanctions on Iranian Government and Affiliates, (November 8, 2012)              FRE 401; 402; 702; 703; 704; 803(18); 807; 902; 902(5)
 PX73                   U.S. Department of Treasury Press Release , Statement by Secretary Paulson on Iran Designations,                    FRE 401; 402; 702; 703; 704; 803(18); 807; 902; 902(5)
                                                                     (October 25, 2007)
 PX76         U.S. Department of Treasury Press Release , Treasury Sanctions Iran’s Largest Petrochemical Holding Group and Vast           FRE 401; 402; 702; 703; 704; 803(8); 807; 901; 902; 902(5)
                                               Network of Subsidiaries and Sales Agents, (June 7, 2019)
 PX77        U.S. Department of Treasury Press Release , Treasury Sanctions Key Hizballah, IRGC-QF Networks in Iraq, (November             FRE 401; 402; 702; 703; 704; 803(8); 807; 901; 902; 902(5)
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 PX79        U.S. State Department, State Department Terrorist Designations of Asa’ib Ahl al-Haq and Its Leaders, Qays and Laith al-       FRE 401; 402; 702; 703; 704; 803(8); 807; 901; 902; 902(5)
                                                                Khazali, (January 3, 2020)
 PX80          White House, "Statement from the President on the Designation of the Islamic Revolutionary Guard Corps as a Foreign         FRE 401; 402; 702; 703; 704; 803(8); 807; 901; 902; 902(5)
                                              Terrorist Organization," The White House, (April 8, 2019)
 PX81                           Federal Register, Vol. 62, No. 165, Notices Hezbollah et al TRO's, (October 8, 1997)                         FRE 401; 402; 702; 703; 704; 803(8); 807; 902; 902(5)
 PX82             U.S. Department of Treasury Press Release , Treasury Designations of Hizballah Leadership, (August 22, 2013)                   FRE 401; 402; 803(8); 807; 901; 902; 902(5)
 PX101        FinCEN Advisory, Advisory on the Iranian Regime’s Illicit and Malign Activities and Attempts to Exploit the Financial        FRE 401; 402; 702; 703; 704; 803(8); 807; 901; 902; 902(5)
                                                               System, (October 11, 2018)
 PX104       New York Department of Financial Services, "DFS Fines Intesa Sanpaolo $235 Million for Repeated Violations of Anti-                  FRE 401; 402; 803(8); 807; 901; 902; 902(5)
                                                   Money Laundering Laws," (December 15, 2016)
 PX116          U.S. Department of Treasury, Financial Crimes Enforcement Networ k, Advisory FIN-2008-A002, "Guidance to                   FRE 401; 402; 702; 703; 704; 803(8); 807; 901; 902; 902(5)
               Financial Institutions on the Continuing Money Laundering Threat Involving Illicit Iranian Activity," (March 20, 2008)
 PX118       U.S. Department of Treasury Press Release , "Treasury Targets Iran’s Central Bank Governor and an Iraqi Bank Moving           FRE 401; 402; 702; 703; 704; 803(8); 807; 901; 902; 902(5)
                                              Millions of Dollars for IRGC-Qods Force," (May 15, 2018)
 PX121         U.S. Department of Treasury Financial Crimes Enforcement Network , Advisory FIN-2010-A008, "Update on the                   FRE 401; 402; 702; 703; 704; 803(8); 807; 901; 902; 902(5)
                                        Continuing Illicit Finance Threat Emanating from Iran," (June 22, 2010)
 PX122          U.S. Department of Treasury Press Release , Fact Sheet: Treasury Strengthens Preventative Measures Against Iran,           FRE 401; 402; 702; 703; 704; 803(8); 807; 901; 902; 902(5)
                                                                    (November 6, 2008)
 PX124            U.S. Department of Treasury, Letter from Adam J. Szubin, OFAC Director, to Congress, (September 24, 2012)                FRE 401; 402; 702; 703; 704; 803(8); 807; 901; 902; 902(5)
 PX125               U.S. Department of Treasury Press Release , Treasury Submits Report To Congress On NIOC And NITC,                     FRE 401; 402; 702; 703; 704; 803(8); 807; 901; 902; 902(5)
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 PX126               U.S. Department of Treasury Press Release , Treasury Targets Iran’s Islamic Revolutionary Guard Corps,                FRE 401; 402; 702; 703; 704; 803(8); 807; 901; 902; 902(5)
                                                                    (February 10, 2010)
 PX127                U.S. Department of Treasury Press Release , Treasury Further Exposes Iran-Based Al-Qa’ida Network,                   FRE 401; 402; 702; 703; 704; 803(8); 807; 901; 902; 902(5)
                                                                     (October 18, 2012)
 PX129            U.S. Department of Treasury Press Release , Treasury Targets al Qaeda Operatives in Iraq, (January 16, 2009)             FRE 401; 402; 702; 703; 704; 803(8); 807; 901; 902; 902(5)
 PX130      U.S. Department of Treasury Press Release , Treasury Targets Key Al-Qa’ida Funding and Support Network Using Iran as           FRE 401; 402; 702; 703; 704; 803(8); 807; 901; 902; 902(5)
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 PX132             U.S. Department of Treasury Press Release , Treasury Targets Companies Facilitating Iran’s Petroleum Sales,             FRE 401; 402; 702; 703; 704; 803(8); 807; 901; 902; 902(5)
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 PX133      U.S. Department of Treasury Press Release , Treasury Targets International Network Supporting Iran’s Petrochemical and         FRE 401; 402; 702; 703; 704; 803(8); 807; 901; 902; 902(5)
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 PX135         U.S. Department of Treasury Press Release , United States and United Arab Emirates Disrupt Large Scale Currency             FRE 401; 402; 702; 703; 704; 803(8); 807; 901; 902; 902(5)
                                 Exchange Network Transferring Millions of Dollars to the IRGC-QF, (May 10, 2018)
 PX137                          The White House, Remarks by President Trump on Iran Strategy, (October 13, 2017)                                 FRE 401; 402; 803(8); 807; 901; 902; 902(5)
 PX202                             U.S. Department of State, Country Reports on Terrorism 2006 (April 30, 2007)                            FRE 401; 402; 702; 703; 704; 803(8); 807; 901; 902; 902(5)
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 PX209                             U.S. Department of State, Country Reports on Terrorism 2014 (June 2015)                                   FRE 401; 402; 702; 703; 704; 803(8); 807; 901; 902; 902(5)
 PX210                         U.S. Department of State, Country Reports on Terrorism 2017 (September 2018)                                  FRE 401; 402; 702; 703; 704; 803(8); 807; 901; 902; 902(5)
 PX212         Brian Fishman and Joseph Felter, Iranian Strategy in Iraq: Politics and “Other Means” (West Point, NY: Combating               FRE 401; 402; 702; 703; 704; 803(18); 807; 902; 902(5)
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 PX213                              Hard Lessons. The Iraq Reconstruction Experience, OIG, (February 2009)                                         FRE 401; 402; 803(8); 807; 901; 902; 902(5)
 PX217            U.S. Department of State, "Subject: Information on Bank Melli for Italy, S Consideration in EU Discussions on              FRE 401; 402; 702; 703; 704; 803(8); 807; 901; 902; 902(5)
                                                    Autonomous Sanctions," (March 8, 2007)
 PX224       Assaf Moghadam, "Marriage of Convenience: The Evolution of Iran and al-Qa’ida’s Tactical Cooperation," CTC Sentinel              FRE 401; 402; 702; 703; 704; 803(18); 807; 902; 902(5)
                                                            10:4, p. 15, (April 2017)
 PX227                       Combined Intelligence Operations Center Information Paper, p. 317, (August 5, 2007)                             FRE 401; 402; 702; 703; 704; 803(8); 807; 901; 902; 902(5)
 PX235        FinCEN, "Imposition of Fifth Special Measure Against the Islamic Republic of Iran as a Jurisdiction of Primary Money                    FRE 401; 402; 803(8); 807; 902; 902(5)
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 PX241      Joel D. Rayburn et al. eds., "The U.S. Army in the Iraq War Volume 1," (Washington, D.C.: Office of the Chief of Staff of         FRE 401; 402; 702; 703; 704; 803(18); 807; 902; 902(5)
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 PX242       Joel D. Rayburn et al. eds., "The U.S. Army in the Iraq War Volume 2: Surge and Withdrawal," (West Point, New York:              FRE 401; 402; 702; 703; 704; 803(18); 807; 902; 902(5)
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 PX250       Michael Knights, "Iran’s Expanding Militia Army in Iraq: The New Special Groups," CTC Sentinel 12:7, (August 2019)               FRE 401; 402; 702; 703; 704; 803(18); 807; 902; 902(5)
 PX251          Michael Knights, "The Evolution of Iran’s Special Groups in Iraq," CTC Sentinel 3:11 - 12, p. 12 (November 2010)              FRE 401; 402; 702; 703; 704; 803(18); 807; 902; 902(5)
 PX257       Senate Perm. Subcomm. on Investigations, "U.S. Vulnerabilities to Money Laundering, Drugs, and Terrorist Financing:             FRE 401; 402; 702; 703; 704; 803(8); 807; 901; 902; 902(5)
                                                        HSBC Case History," (July 17, 2012)
 PX260                        U.S. Defense Intelligence Agency, "Iran Military Power," pp. 9, 19, 37, (August 2019)                          FRE 401; 402; 702; 703; 704; 803(8); 807; 901; 902; 902(5)
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 PX270      United States Department of State - Office of the Coordinator for Counterterrorism , Patterns of Global Terrorism 1990,          FRE 401; 402; 702; 703; 704; 803(8); 807; 901; 902; 902(5)
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 PX274        West Point Combatting Terrorism Center, "Iranian Resources and Shi`a Militant Cohesion: Insights from the Khazali              FRE 401; 402; 702; 703; 704; 803(8); 807; 901; 902; 902(5)
                                                             Papers," (January 16, 2019)
 PX275                 Library of Congress, "Iran’s Ministry of Intelligence and Security: A Profile," p. 4, (December 2012)             FRE 401; 402; 702; 703; 704; 803(8); 803(18) 807; 901; 902; 902(5)
 PX280              Kenneth Katzman, "Iran’s Foreign and Defense Policies," Congressional Research Service, R44017, p. 19,               FRE 401; 402; 702; 703; 704; 803(8); 803(18) 807; 901; 902; 902(5)
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 PX346       U.S. Congress, Senate Committee on Armed Services, The Situation in Iraq and Progress by the Government of Iraq in          FRE 401; 402; 702; 703; 704; 803(8); 804(b); 807; 901; 902; 902(5)
            Meeting Benchmarks and Achieving Reconciliation: Hearing before the Committee on Armed Services, 110th Cong., 2d sess.,
                             Statements of Gen. David H. Petraeus and Ambassador Ryan Crocker, (April 8-10, 2008)
 PX356           Department of Defense Press Briefing , with Brig. Gen. Kevin Bergner, Multi-National Force-Iraq, (July 2, 2007)             FRE 401; 402; 702; 703; 704; 803(8); 807; 901; 902; 902(5)
 PX359        Department of Defense Press Briefing , with Major Gen. Kevin Bergner and Brig. Gen. Michael Walsh, Multi-National              FRE 401; 402; 702; 703; 704; 803(8); 807; 901; 902; 902(5)
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               chairman of the Joint Chiefs of Staff, Pentagon Briefing Room, Arlington, Virginia 1: 15 P.M. EST, (March 28, 2003)
 PX365         Ambassador Jeffrey D. Feltman, Testimony, Assistant Secretary of State for Near Eastern Affairs, and Ambassador           FRE 401; 402; 702; 703; 704; 803(8); 804(b); 807; 901; 902; 902(5)
            Daniel Benjamin, Coordinator for Counterterrorism, Senate Foreign Relations Subcommittee on Near Eastern and South and
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 PX371         U.S. Congress, Senate Committee on Armed Services, Iran’s Military Power: Hearing before the Committee on Armed           FRE 401; 402; 702; 703; 704; 803(8); 804(b); 807; 901; 902; 902(5)
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 PX373        U.S. Congress, Senate Select Committee on Intelligence, Current and Projected National Security Threats to the United      FRE 401; 402; 702; 703; 704; 803(8); 804(b); 807; 901; 902; 902(5)
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                                                            Jacoby, (February 16, 2005)
 PX374      Department of Defense Press Briefing , with Gen. Petraeus from the Office of the Assistant Secretary of Defense, Pentagon,       FRE 401; 402; 702; 703; 704; 803(8); 807; 901; 902; 902(5)
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                                                            Security, (January 15, 2020)
 PX383          Multi-National Force-Iraq, Press Release, "Coalition Forces Strike Blow to Criminal Network," (October 18, 2008)                    FRE 401; 402; 803(8); 807; 901; 902; 902(5)
 PX384       Multi-National Force-Iraq, Press Release, "Coalition Forces Continue to Target Asaib Ahl al-Haq Criminals Baghdad,"                    FRE 401; 402; 803(8); 807; 901; 902; 902(5)
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 PX405       Federal Register, Vol.76, No. 227, 72,756, Finding That the Islamic Republic of Iran Is a Jurisdiction of Primary Money              FRE 401; 402; 702; 703; 704; 803(8); 807; 902(1)
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 PX407                   U.S. Congress, Iran Oil Sanctions Act of 1996, HR Rep 104-523, pt 1, 104th Cong, 2d Sess. (1996)                         FRE 401; 402; 702; 703; 704; 803(8); 807; 902(1)
 PX408            U.S. Congress, Iran Threat Reduction and Syria Human Rights Act of 2012, Pub. L. No. 112-158 (Aug.10, 2012)                     FRE 401; 402; 702; 703; 704; 803(8); 807; 902(1)
 PX409                              Department of Treasury, Settlement Agreement, ¶ 4, (December 11, 2012)                                        FRE 401; 402; 702; 703; 704; 803(8); 807; 902(1)
 PX412                                Executive Order 12947, Hizballah SDT Designation, (January 23 1995)                                         FRE 401; 402; 702; 703; 704; 803(8); 807; 902(1)
 PX503          Parliament of Australia, "Review of the re-listing of Ansar al-Sunna, JeM, LeJ, EIJ, IAA, AAA and IMU as terrorist                FRE 401; 402; 702; 703; 704; 803(8); 807; 902(6)
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 PX521                                       United Nations Security Council, Resolution 1929, (2010)                                            FRE 401; 402; 702; 703; 704; 803(8); 807; 902(6)
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                                              Amended Exhibit List in Support of Motion Regarding Defendants’ Material Support


Exhibit #                                                            Exhibit Name                                                                       Grounds for Admission
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 PX906            Office of the Director of National Intelligence , "Letter Dated 13 Oct 2010," released in Bin Laden’s Bookshelf            FRE 401; 402; 702; 703; 704; 804(3); 807; 902(7)
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 PX939                                           Military Charge Sheet for Ali Musa Daqduq                                                  FRE 401; 402; 702; 703; 704; 803(8); 804(3); 902(2)
 PX942                                      MNF-I, CDR Weekly SECDEF Updates_296 to 313                                                   FRE 401; 402; 702; 703; 704; 803(8); 804(3); 807; 902(7)

 PX949      Multi-National Force – Iraq, CDR Weekly SECDEF Updates from General David Petraeus, Commander of MNF-I to U.S.                    FRE 401; 402; 702; 703; 704; 803(8); 807; 902(7)
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